        Case 5:22-cv-00030-JWH-SHK Document 8 Filed 01/10/22 Page 1 of 4 Page ID #:20

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Central District
                                                    __________  District of
                                                                         of California
                                                                            __________

                   WILLIAM GONZALEZ,                                  )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. FY - JWH (SHKx)
                                                                      )
  WESTLAKE SERVICES, LLC, a California limited                        )
    liability company; PARAMOUNT LENDER                               )
 SOLUTIONS, a California corporation; and DOES 1                      )
                through 10, inclusive,                                )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) WESTLAKE SERVICES, LLC
                                           c/o Corporations Creation Network, Inc., Its Registered Agent
                                           4640 Admiralty Way, 5th Floor
                                           Marina del Rey, CA 90292




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Brandon A. Block, Law Offices of Brandon A. Block, A Professional Corporation, 9440
                                           Santa Monica Blvd., Ste. 301, Beverly Hills, CA 90210




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT

            1/10/2022
Date:
                                                                                           Signature of Clerk or Dep
                                                                                                                 D
                                                                                                                 De
                                                                                                                 Deputy
                                                                                                                   e    Clerk
         Case 5:22-cv-00030-JWH-SHK Document 8 Filed 01/10/22 Page 2 of 4 Page ID #:21

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
        Case 5:22-cv-00030-JWH-SHK Document 8 Filed 01/10/22 Page 3 of 4 Page ID #:22

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                        Central District
                                                    __________  District of
                                                                         of California
                                                                            __________

                   WILLIAM GONZALEZ,                                  )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No. FY
                                                                      )
  WESTLAKE SERVICES, LLC, a California limited                        )
    liability company; PARAMOUNT LENDER                               )
 SOLUTIONS, a California corporation; and DOES 1                      )
                through 10, inclusive,                                )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) PARAMOUNT LENDERS SOLUTIONS
                                           c/o Steven A. Simons, Its Registered Agent
                                           9010 Corbin Ave., Ste. 17B
                                           Northridge, CA 91324




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Brandon A. Block, Law Offices of Brandon A. Block, A Professional Corporation, 9440
                                           Santa Monica Blvd., Ste. 301, Beverly Hills, CA 90210




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
         Case 5:22-cv-00030-JWH-SHK Document 8 Filed 01/10/22 Page 4 of 4 Page ID #:23

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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                                                                 , a person of suitable age and discretion who resides there,
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                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
